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                       EXHIBIT A
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                               GiveSendGo - Travel &             252-1
                                                     Housing Expenses To DCFiled  08/13/23
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                                                                                       The Leader in       2 of
                                                                                                     Freedom    5
                                                                                                             Fundraising.



                                                                                                                            




           Travel & Housing Expenses To DC For Court.




   Campaign Created by: Joshua Doolin
   The funds from this campaign will be received by Joshua Doolin.

   Goal: USD $6,000

   Raised: USD $ 4,052


     1.
                                                                                                             Need Help?
   So after being arrested on June 30, 2021 for charges from January 6 of 2021 for the protest at the capital
   I will finally be going to court on March 6th.It has been an extremely hectic almost 2 years since being
   charged! I had only been married about a month before I was arrested and my wife just gave birth to our
   first son about five months ago so it has been a wild beginning to our marriage from being arrested and
https://www.givesendgo.com/G9SB4                                                                                                1/4
7/25/23, 4:29 PM    Case 1:21-cr-00447-CJN         Document
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                                                                                       The Leader in       3 of
                                                                                                     Freedom    5
                                                                                                             Fundraising.

   released from the fire department as well as having a baby all in the first year, but we praise the Lord
   through it all, and believe he sees the bigger picture and has a plan for us. I would like to thank everyone
   for the kind letters and encouragement it means a lot!
   Read less




      UPDATES
      Follow this campaign to get email notifications when the campaign owner posts an update.




             FOLLOW




      PRAYER REQUESTS
      Click the Pray button to let the campaign owner know you are praying for them.


               PRAY




       Recent Donations



            USD $
             100



       AngieB

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                                                                                        The Leader in       4 of
                                                                                                      Freedom    5
                                                                                                              Fundraising.

       66 days ago
       God Bless you beautiful Doolin family. Stay strong. You have our support and God on your side.
       #justice4j6

       0



            USD $
             100



       Linda Farias
       134 days ago
       God Bless this family🙏🏼🙏🏼

       1


           See all                                                                                        See top donations




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                                                                                         The Leader in       5 of
                                                                                                       Freedom    5
                                                                                                               Fundraising.




                                                                 Select Language ​▼



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